 Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 1 of 15               PageID 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION

RENEE GUIBAO,                     )
                                  )
      Plaintiff,                  )
                                  )    CIVIL ACTION
vs.                               )
                                  )    FILE No. 2:17-cv-02448
RITE AID OF TENNESSEE, INC.,      )
MEMPHIS PIZZA CAFE III, INC., and )
LURIE & ASSOCIATES, LLC,          )
                                  )
      Defendants.                 )
________________________________________________________________________

                              COMPLAINT
________________________________________________________________________

       COMES NOW, RENEE GUIBAO, by and through the undersigned counsel, and

files this, her Complaint against Defendants RITE AID OF TENNESSEE, INC.,

MEMPHIS PIZZA CAFE III, INC. and LURIE & ASSOCIATES, LLC pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                                    JURISDICTION

       1.     This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181, et seq., based upon

Defendants’ failure to remove physical barriers to access and violations of Title III of the

ADA.



                                             1
 Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 2 of 15                PageID 2




                                         PARTIES

       2.      Plaintiff RENEE GUIBAO (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Memphis, Tennessee

(Shelby County).

       3.       Plaintiff is disabled as defined by the ADA, and is required to traverse in a

wheelchair, is substantially limited in performing one or more major life activities,

including but not limited to: walking, standing, grabbing, grasping and/or pinching.

       4.      Plaintiff uses a wheelchair for mobility purposes.

       5.      Defendant RITE AID OF TENNESSEE, INC. (hereinafter “RITE AID”) is

a Tennessee corporation, and transacts business in the State of Tennessee and within this

judicial district.

       6.      RITE AID operates a business located at 7570 W. Farmington Boulevard,

Germantown, Tennessee 38138, doing business as “Rite Aid,” referenced herein as the

“Facility”.

       7.      RITE AID may be properly served with process via its registered agent for

service, to wit: C T Corporation System, 800 S. Gay Street, Suite 2021, Knoxville,

Tennessee 37929-9710.

       8.      RITE AID is a lessee, sub-lessee, lessor and/or operator of the real property

and improvements that are the subject of this action.

       9.      Defendant MEMPHIS PIZZA CAFE III, INC. (hereinafter “MPC”) is a

Tennessee corporation, and transacts business in the State of Tennessee and within this



                                              2
 Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 3 of 15              PageID 3




judicial district.

       10.     MPC operates a business located at 7604 W. Farmington Boulevard,

Germantown, Tennessee 38138, doing business as “Memphis Pizza,” referenced herein

as the “Facility.”

       11.     MPC may be properly served with process via its registered agent for

service, to wit: Gary Garlington, 7604 W. Farmington Boulevard, Germantown,

Tennessee 38163-82827.

       12.     MPC is a lessee, sub-lessee, lessor and/or operator of the real property and

improvements that are the subject of this action.

       13.     Defendant LURIE & ASSOCIATES, LLC (hereinafter “LURIE”) is a

Tennessee limited liability company, and transacts business in the state of Tennessee and

within this judicial district.

       14.     Upon information and good faith belief, LURIE is the owner of the real

property and improvements that the Facility is situated upon and is the subject of this

action, referenced herein as the “Property.”

       15.     LURIE may be properly served with process via its registered agent for

service, to wit: Leonard Lurie, 2650 Thousand Oaks Boulevard, Suite 2350, Memphis,

Tennessee, 38118-2478.

                                 FACTUAL ALLEGATIONS

       16.     On or about January 23, 2017, Plaintiff was a customer at RITE AID and

MEMPHIS PIZZA.



                                               3
 Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 4 of 15                 PageID 4




       17.    Plaintiff lives in the near vicinity of the Facility and Property.

       18.    Plaintiff’s access to the businesses located at 7550 W. Farmington

Boulevard, Germantown, Tennessee 38138, Shelby County Property Appraiser’s parcel

number G0220 00422 (“the Property”), and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of these disabilities, and will be denied and/or

limited in the future unless and until Defendants are compelled to remove the physical

barriers to access and correct the ADA violations which exist at the Property and Facility,

including those set forth in this Complaint.

       19.    Plaintiff intends to visit the Facility and Property within six months, or

sooner, to purchase goods.

       20.    Plaintiff has visited the Facility and Property at least once before and

intends on visiting the Facility and Property within the next six months, or sooner, once

the Facility and Property are accessible again.

       21.    In this instance, Plaintiff travelled to the Facility and Property as a

customer, encountered the barriers to access at the Facility and Property detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue

to suffer such harm and injury as a result of the illegal barriers to access.

                                  COUNT I
                      VIOLATIONS OF THE ADA AND ADAAG

       22.    On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101, et seq.

                                               4
 Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 5 of 15               PageID 5




       23.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a
               whole is growing older;

       (ii)    historically, society has tended to isolate and segregate individuals
               with disabilities, and, despite some improvements, such forms of
               discrimination against individuals with disabilities continue to be a
               serious and pervasive social problem;

       (iii)   discrimination against individuals with disabilities persists in such
               critical areas as employment, housing public accommodations,
               education,        transportation,    communication,        recreation,
               institutionalization, health services, voting, and access to public
               services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and
               communication barriers, overprotective rules and policies, failure to
               make modifications to existing facilities and practices, exclusionary
               qualification standards and criteria, segregation, and relegation to
               lesser service, programs, activities, benefits, jobs, or other
               opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination
               and prejudice denies people with disabilities the opportunity to
               compete on an equal basis and to pursue those opportunities for
               which our free society is justifiably famous, and costs the United
               States billions of dollars in unnecessary expenses resulting from
               dependency and nonproductivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       24.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the
               elimination of discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

                                              5
 Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 6 of 15             PageID 6




             *****

      (iv)   invoke the sweep of congressional authority, including the power to
             enforce the fourteenth amendment and to regulate commerce, in
             order to address the major areas of discrimination faced day-to-day
             by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

      25.     The congressional legislation provided places of public accommodation

one and a half years from the enactment of the ADA to implement the requirements

imposed by the ADA.

      26.    The effective date of Title III of the ADA was January 26, 1992, or January

26, 1993 if defendant has 10 or fewer employees and gross receipts of $500,000 or less.

42 U.S.C. § 12181; 28 C.F.R. §36.508(a)

      27.    The Facility is a public accommodation and service establishment.

      28.    The Property is a public accommodation and service establishment.

      29.    While the restroom in the Rite Aid portion of the Facility has a sign that

states that it is for employees only, but able-bodied individuals are given access to said

restroom upon request. As a result, the restroom must be considered a public

accommodation and, therefore, must be ADA compliant.

      30.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice, Office of Attorney General, promulgated federal regulations to

implement the requirements of the ADA. 29 C.F.R. Part 36.

      31.    Public accommodations were required to conform to these regulations by



                                            6
 Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 7 of 15               PageID 7




January 26, 1992 (or January 26, 1993 if defendant has 10 or fewer employees and gross

receipts of $500,000 or less). 42 U.S.C. § 1281, et seq., and 28 C.F.R. §36.508(a).

       32.    The Facility must be, but is not, in compliance with the ADA and ADAAG.

       33.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

       34.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property, but

could not fully do so because of her disabilities due to the physical barriers to access,

dangerous conditions and ADA violations that exist at the Facility and Property that

preclude and/or limit her access to the Facility and Property and/or the goods, services,

facilities, privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this Complaint.

       35.    Plaintiff intends to visit the Facility and Property again in the very near

future as a customer in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Facility and Property, but

will be unable to fully do so because of her disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Facility and Property that

preclude and/or limit her access to the Facility and Property and/or the goods, services,

facilities, privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this Complaint.

       36.    Defendants have discriminated against Plaintiff and others with disabilities,



                                             7
 Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 8 of 15              PageID 8




by denying access to, and full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Facility and Property, as prohibited

by, and by failing to remove architectural barriers as required by 42 U.S.C. §

12182(b)(2)(A)(iv), and will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendants are compelled to remove all physical barriers that

exist at the Facility and Property, including those specifically set forth herein, and make

the Facility and Property accessible to and usable by persons with disabilities, including

Plaintiff.

       37.    Defendants have discriminated against Plaintiff by failing to comply with

the above requirements.

       38.    A specific, although not exclusive, list of unlawful physical barriers,

dangerous conditions and ADA violations which Plaintiff experienced and/or observed

and preclude and/or limit Plaintiff’s ability (because of her disability) to access the

Facility and Property and/or full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Facility and Property, include, but

are not limited to:

       (a)    ACCESSIBLE ELEMENTS:

       (i)    The accessible parking space and adjacent associated access aisle on

              the Property most proximate to the Rite Aid portion of the Facility

              each have a slope in excess of 1:48 (one to forty-eight), in violation

              of section 502.4 of the 2010 ADAAG standards and are not level.



                                            8
Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 9 of 15                PageID 9




             This violation made it dangerous and difficult for Plaintiff to exit

             and enter her vehicle while parked at the Property.

     (ii)    The access aisle adjacent to the accessible parking space on the

             Property most proximate to the Rite Aid portion of the Facility is not

             level due to the presence of a ramp in said access aisle, in violation

             of section 502.4 of the 2010 ADAAG standards. This violation made

             it dangerous and difficult for Plaintiff to exit and enter their vehicle

             while parked at the Property.

     (iii)   The Property has a ramp leading from the accessible parking space

             most proximate to Rite Aid to the accessible entrances of the Facility

             with a slope exceeding 1:10 (one to ten), in violation of section

             405.2 of the 2010 ADAAG standards. This violation made it

             dangerous and difficult for Plaintiff to access the units of the

             Property.

     (iv)    The accessible parking space on the Property most proximate to the

             Rite Aid portion of the Facility is not level due to the presence of

             ramp side flares within the boundaries of said accessible parking

             space, in violation of section 502.4 of the 2010 ADAAG standards.

             This violation made it dangerous and difficult for Plaintiff to exit

             and enter their vehicle while parked at the Property.

     (v)     The accessible ramp on the Property most proximate to the Rite Aid



                                             9
Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 10 of 15               PageID 10




              portion of the Facility has side flares that have a slope in excess of

              1:10 (one to ten), in violation of section 406.3 of the 2010 ADAAG

              standards. This violation made it dangerous and difficult for Plaintiff

              to access the units of the Property.

      (vi)    The interior of the Memphis Pizza portion of the Facility has sales

              and services counters, including the to-go counter and the eat-in

              counter, that each lack any portion of the counter that has a

              maximum height of 36 (thirty-six) inches from the finished floor, in

              violation of section 904.4 of the 2010 ADAAG standards. This

              violation made it difficult for Plaintiff to properly transact business

              at the Memphis Pizza.

      (b)     RITE AID RESTROOMS:

      (i)     The paper towel dispensers in the restrooms of the Rite Aid portion

              of the Facility are located outside the prescribed vertical reach

              ranges set forth in section 308.2.1 of the 2010 ADAAG standards.

      (ii)    The controls on the faucets in the restrooms of the Rite Aid portion

              of the Facility require pinching and turning of the wrists in violation

              of section 309.4 of the 2010 ADAAG standards.

      (iii)   The restrooms of the Rite Aid portion of the Facility lack restrooms

              signage that complies with sections 216.8 and 703 of the 2010

              ADAAG standards.



                                             10
Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 11 of 15               PageID 11




      (iv)   The doors to in the restrooms of the Rite Aid portion of the Facility

             require an opening force in excess of 5 lbs (five pounds), in violation

             of section 309.4 of the 2010 ADAAG standards.

      (c)    MEMPHIS PIZZA RESTROOMS:

      (i)    The hand operated flush controls on the commodes in the toilet stalls

             in the restrooms of the Memphis Pizza portion of the Facility are not

             located on the open side of each such accessible stall, in violation of

             section 604.6 of the 2010 ADAAG standards.

      (ii)   The accessible toilet stall doors in the restrooms of the Memphis

             Pizza portion of the Facility are not self-closing and/or otherwise

             violates section 604.8.2.2 of the 2010 ADAAG standards.

      (iii) The lavatories and/or sinks in the restrooms of the Memphis Pizza

             portion of the Facility have exposed pipes and surfaces, and are not

             insulated or configured to protect against skin contact, in violation of

             section 606.5 of the 2010 ADAAG standards.

      (iv) The soap dispensers in the restrooms of the Memphis Pizza portion

             of the Facility are located outside the prescribed vertical reach

             ranges set forth in section 308.2.1 of the 2010 ADAAG standards.

      (v)    The paper towel dispensers in the restrooms of the Memphis Pizza

             portion of the Facility are located outside the prescribed vertical

             reach ranges set forth in section 308.2.1 of the 2010 ADAAG



                                            11
Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 12 of 15            PageID 12




             standards. This made it difficult for Plaintiff to safely utilize the

             restroom facilities.

       (vi) The restrooms of the Memphis Pizza portion of the Facility lack

             restrooms signage in compliance with sections 216.8 and 703 of the

             2010 ADAAG standards.

      39.    The above listing is not to be considered all-inclusive of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Facility and

Property.

      40.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory acts violating the ADA.

      41.     All of the above violations are readily achievable to modify in order to

bring the Facility and Property into compliance with the ADA.

      42.    The removal of the physical barriers and dangerous conditions present at

the Facility and Property is readily achievable because the nature and cost of the

modifications are relatively low and the Defendant has the financial resources to make

the necessary modifications.

      43.    Upon information and good-faith belief, the Facility and Property has been

altered since 2010.

      44.    In instances where the 2010 ADAAG standard does not apply, the 1991

ADAAG standard applies and all of the violations listed in paragraph 33 can be applied

to the 1991 ADAAG standards.



                                           12
Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 13 of 15               PageID 13




       45.    Plaintiff has attempted to gain access to the Facility and Property in her

capacity as a customer, but because of her disability has been denied access to, and has

been denied the benefits of services, programs and activities of the Facility and Property,

and has otherwise been discriminated against and damaged by Defendants, because of the

physical barriers, dangerous conditions and ADA violations set forth above, and expect to

be discriminated against in the near future by Defendants because of Plaintiff’s

disabilities, unless and until Defendants are compelled to remove the unlawful barriers

and conditions and comply with the ADA.

       46.    The removal of the physical barriers, dangerous conditions and ADA

violations set forth herein is readily achievable and can be accomplished and carried out

without much difficulty or expense.       42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §

12181(9); 28 C.F.R. §36.304.

       47.    Plaintiff is without adequate remedy at law, is suffering irreparable harm,

and reasonably anticipates that she will continue to suffer irreparable harm unless and

until Defendants are required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Facility and Property, including those set forth herein.

The relief requested serves the public interest, and the benefit to Plaintiff and the public

far outweighs any detriment to Defendant.

       48.    Plaintiff has been obligated to retain the undersigned counsel for the filing

and prosecution of this action, and has agreed to pay the undersigned counsel reasonable

attorney’s fees, costs, and expenses from Defendants pursuant to 42 U.S.C. §§ 12205 and



                                            13
Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 14 of 15               PageID 14




12117, and Plaintiff is entitled to attorney’s fees, costs, and expenses from Defendants.

       49.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including an order to alter the subject Facility and Property

to make it readily accessible to and useable by individuals with disabilities to the extent

required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)    That the Court find RITE AID in violation of the ADA and ADAAG;

       (b)    That the Court find MPC in violation of the ADA and ADAAG;

       (c)    That the Court find LURIE in violation of the ADA and ADAAG;

       (d)    That the Court issue a permanent injunction enjoining Defendants from

              continuing their discriminatory practices;

       (e)    That the Court issue an Order requiring Defendants to (i) remove the

              physical barriers to access and (ii) alter the subject Facility to make it

              readily accessible to and useable by individuals with disabilities to the

              extent required by the ADA;

       (f)    That the Court award Plaintiff her reasonable attorneys' fees, litigation

              expenses and costs; and

       (g)    That the Court grant such further relief as just and equitable in light of the

              circumstances.

                                          Dated: June 28, 2017.

                                          Respectfully submitted,



                                             14
Case 2:17-cv-02448-JTF-cgc Document 1 Filed 06/28/17 Page 15 of 15      PageID 15




                                   /s/Craig J. Ehrlich
                                   Craig J. Ehrlich
                                   Ehrlich & Schapiro, LLC
                                   1123 Zonolite Road, N.E. Suite 8-B
                                   Atlanta, Georgia 30306
                                   Tel: (404) 365-4460
                                   Fax: (855) 415-2480
                                   craig@ehrlichlawoffice.com




                                     15
